                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE

CURTIS A GIBBS, ET AL.                        *

                       Plaintiffs             *
       v.
                                              *      CIVIL ACTION NO.:      3:11-cv-0777
                                                                            JUDGE HAYNES
NATIONWIDE MUTUAL FIRE                        *
INSURANCE COMPANY
                                              *
                       Defendant
*      *       *       *     *        *       *      *       *       *      *       *       *   *

                   AGREED ORDER OF COMPROMISE AND DISMISSAL

       As evidenced by the signatures of counsel for the parties below, it appears to the Court

that the parties have compromised and settled all claims asserted between these parties and agree

that all claims between these parties in this lawsuit should be dismissed with prejudice.

       It is accordingly, ORDERED that the claims asserted in this case be and hereby are

DISMISSED WITH PREJUDICE.

       ENTERED this the __________ day of ________________, 2012.



                                                  William J. Haynes
                                                  United States District Judge




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SUBMITTED FOR ENTRY BY:

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